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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


                                                            Action No: 3:17CV00072
  Elizabeth Sines, et al                                    Date: 3/16/18
  vs.                                                       Judge: Joel C. Hoppe
                                                            Court Reporter: H. Wheeler FTR
  Jason Kessler, et al
                                                            Deputy Clerk: Heidi N. Wheeler



  Plaintiff Attorney(s)                             Defendant Attorney(s)
  Roberta Kaplan, Philip Bowman, Alan Levine,       Elmer Woodard, James Kolenich, Richard
  David Mills, John Rottborn                        Spencer, David Campbell, Bryan Jones,
                                                    Michael Peinovich



                                        LIST OF WITNESSES

  PLAINTIFF/GOVERNMENT:                             DEFENDANT:
  1.                                                1.



  PROCEEDINGS:
  TELEPHONIC CONFERENCE CALL 2:03-310= 1hr 7 min

  Parties present via conference call to discuss various motions, schedules and discovery issues.

  Trial date and length touched upon.

  Depositions addressed.

  Order will issue.
